                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                    DOCKET NO. 3:12cr69-FDW

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
               v.                                 )               PRELIMINARY ORDER
                                                  )                 OF FORFEITURE
DAPATRICK MARQUE RICHARDSON,                      )
                                                  )
                       Defendant.                 )

       In the Bill of Indictment in this case, the United States sought forfeiture of property of the

Defendant as property that was used or intended to be used to facilitate the crimes charged, which

would be subject to forfeiture under 18 U.S.C. § 924(c) and/or 28 U.S.C. § 2461(c).

       Defendant entered into a plea agreement; subsequently pled guilty to Counts One and Two

in the Bill of Indictment; and was adjudged guilty of the offenses charged in those counts. In the

plea agreement, Defendant has agreed to forfeit specific property as described below.

       It is therefore ORDERED:

       1. Based upon Defendant’s plea of guilty, the United States is authorized to seize the

following property belonging to Defendant, and it is hereby forfeited to the United States for

disposition according to law, provided, however, that such forfeiture is subject to any and all third

party claims and interests, pending final adjudication herein::

       One Smith and Wesson, model SW9VE, 9mm pistol, serial number RBD7226 and
       ammunition.

       2. Pursuant to 21 U.S.C. § 853(n)(1), the government shall publish notice of this order;

notice of its intent to dispose of the property in such manner as the Attorney General may direct; and

notice that any person, other than the Defendant, having or claiming a legal interest in any of the




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above-listed forfeited property must file a petition with the Court within thirty days of the final

publication of notice or of receipt of actual notice, whichever is earlier. This notice shall state that

the petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged interest in the

property, shall be signed by the petitioner under penalty of perjury, and shall set forth the nature and

extent of the petitioner’s right, title or interest in each of the forfeited properties and any additional

facts supporting the petitioner’s claim and the relief sought. The United States may also, to the

extent practicable, provide direct written notice to any person known to have alleged an interest in

property that is the subject of this Order of Forfeiture, as a substitute for published notice as to those

persons so notified.

        3. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. § 853(n).

                                                    Signed: September 4, 2012




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